
44 So.3d 198 (2010)
Marylynn FALCO, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-4577.
District Court of Appeal of Florida, Fourth District.
September 15, 2010.
Rehearing Denied October 15, 2010.
MaryLynn Falco, Fort Lauderdale, pro se.
No appearance required for appellee.
PER CURIAM.
Appellant appeals the denial of her rule 3.800(c) motion for reduction and/or mitigation of sentence. Despite the language in the order of dismissal informing appellant that she had thirty days to appeal, there is no right to appeal from the denial of a rule 3.800(c) motion. See Reeves v. State, 23 So.3d 1263 (Fla. 4th DCA 2009); Howard v. State, 914 So.2d 455 (Fla. 4th DCA 2005). Accordingly, we dismiss the appeal for lack of jurisdiction.
WARNER, POLEN and LEVINE, JJ., concur.
